      Case
Name and      8:17-cv-02147-DOC-DFM
         address:                                          Document 15 Filed 03/07/18 Page 1 of 4 Page ID #:55
                     Bailey K. Benedict
                 FISH &RICHARDSON P,C.
                    l22l McKinney Street, Suite 2800
                          Houston, TX77010
         Telephone: (7I3) 654-5300 / Facsimile: (7L3) 652-0109

                                                 UNITED STATES DISTRICT COURT
                                                CENTRAL DISTRICT OF CALIFORNIA

                                                                                CASE NUMBER
WOBBLEWORKS,INC.,
                                                             Plaintiff(s)                        8:17-CV-021 47 -DOC (DFMx)

                    v
                                                                                 APPLICATION OF NON-RESIDENT ATTORNEY
DITEC SOLUTIONS, LLC,                                                                  TO APPEAR IN A SPECIFIC CASE
                                                          Defendant(s),                       PRO HAC VICE

INSTRUCTIONS FOR APPLICANTS
(   1)      The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
            Section II, and have the designated Local Counsel sign in Section IIl. ELECTRONIC SIGNA?URES AR.E NOT ACCEPTED.
            Space to supplement responses is provided in Section lV. The applicant must also attach a Cerfficate of Good Standing (issued
            within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the
            Application, Scan the completed Application with its original ink signature, together with any attachment(s), to a single Portable
            Document Format (PDF) file.
(2)         Have the designated Local Counsel file the Application electronically (using the Court's CM/ECF System), attach a Proposed Order
            (using Form G-64 ORDER, available from the Court's website), and pay the required $325 fee online at the time of filing (using a
            credit card). Thefee is requiredfor each case in which the applicantfiles an Application. Failure to pay thefee at the time of filing
            will be grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $325 fee,
            (Certqin attorneys for the United States are also exempt from the requirement of applyingfor pro hac vice status. See L.R. 83-2.1.4.)
            A copy of the G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTIONI - INFORMATION
Benedict, Bailey K.
Applicant's Name (Last Name, First Name 6 Middle lnitial)                                             check here iffederal government attorney     A
FISH &RICHARDSON P.C.
Firm/Agency Name
    1221 McKinney Street                                                    (7r3) 654-s300                         (7r3) 6s2-0r09
Suite 2800                                                                  Telephone Number                       Fax Number

Street Address

Houston, TX770L0                                                                                     benedict@fr.com
City, State, Zip Code                                                                                  E-mqil Ad.dress

I have been retained to represent the following parties:
Ditec Solutions, LLC                                                        I   Plainffis) fi   Defendant(s) )    Other:

                                                                            I   Plainffis) I    Defendant(s) ]    Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                    Name ofCourt                                  Admission
                                                            Date of                     Active Member in Good Standing? 0f not, please explainl
Eastern District of     Texas                                   L2l3l20I2              Active Member in Good Standing
Southern District of Texas                                       21712013 Active Member in Good Standing
Western District of Texas                                       1111612015 Active member in Good Standing

G-64 (6116)                   APPLICATION OF NON.RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page   I of3
              Case 8:17-cv-02147-DOC-DFM Document 15 Filed 03/07/18 Page 2 of 4 Page ID #:56


nceclt:cl):




1f   irnvpro hrc vicc applications subnittecl within the past tlrree (3) years havc been denied by lhe Court, please explain:




l lrs thc applic*nt previously registered as a Clvl/LICF user in the Cerrtrtl District of Califonria?                               fl   Yes         8No
If yi:s, was ihe applicirnt's CIvI/SCF User account assocjatcd lvith the e-mnil address provided abQvei                             I    Yes         El   Nu


                                                                                                                        Previous E-ruail llsed (if applicattt)


 Atturneys nrust                                                      Managunentl\lcctranic Case Filing ('CMlb:Ct:') systent to           be   adntitted ta practice pro hac
                         tte   regisreretl   Jor the Caurt's   Casc


errler grantiug your Application, you'i,itt ,ithu, bc                    issued   a   neu,   CM/b,CI: lagin antl ltusslord, ot' the existing actount you idenfi.ffud altove

 lt. stb){3)eil, to clecriauic               service oJ'tlousnents    through the OM/ECF System. You have the right to withhold ar revoke your consu* to




 through ths mail.

$IrC]:l$iSlli-QSB::l f IP.S,IJ 0N
1                          erf p*rjury tliat:
     ciechrre untle r pcnalt,v
(l) All oI the  abcve  inf<rrnrrrlion is truc and correct.
{?) l anr not ir iesid*nr ol,the state r.)f Calltbrnia. I arn not regularly cnrployed in, or engagecl irl sttbstarrtial
                                                                                                                        business,
        professiontl, c.rt'other activilies in the State of Califbr:nia.
(3) i arn    n{){ currently suspended from and llave rlever been disbarred lrom practice irt any court,
{4) I am     furniiiar: with the ilourt's l,ocal Civil and Crirlinal Rules, the Federal Rules of Civil aud Crinlinal Procedure,
        an<ltlrc lrederill Rules of livldence'
(5) I clesigrrate    thc attr:rney listecl in sectiori lll belolv, lvho is a rnernber in good standing of the llrrr of this Court ancl
        rnainitins rru oilice iu ihc Central District of Califtrrnia tbr dre practicc <if law, rts local counsel Pur$u$nt to l.,ocal
        Rulc B3-2.1.3.4.


                    I)atcci                                                                            K.lleneclict
                                                                                                          's   Nafie




(i.d4                                   APPl.ICA?,I0N OIi NON-I{T"5IDENT AT.TORI\'IIY TO APPF,AII IN A SPECIFIC             C ASL PRA         VICE                Pagc 2   of3
        {6i   r6l
                                                                                                                                        'MC
       Case 8:17-cv-02147-DOC-DFM Document 15 Filed 03/07/18 Page 3 of 4 Page ID #:57


$ritxtsalukJ3$tsNA:lLmi -0i.J.0!JA&-eariNsI'&
Irei, l{yan L.
Ocsrgrrec's Mrnre {Lnsf Na rne, Itirst Name   *   Mitldle Initial)

FIS}.I & R]C} IAITDSON P.C.
l:'irm/Aguttty Ntrrue
                                                                             (213) 533-4240                                 (858) 678-5099
633 West sth $treet
                                                                             'I'elephone Nutnber                            FaxNumbrl
26th Fk:or
Street Aeldress
                                                                             rfrei@fr.con:
                                                                             fr-mail Address
Los Angeles, CA 90071
Cif;,, *$tafe, Zilt Code
                                                                             3t0722
                                                                             Designee's     Califorria Stste .Ilar Number


I hereby eonsent to lhe for:egcing designntion       as   local cotrn$el, arrd declare under penalty ofperjury that I maintain an of{Ice in the
Centr*l ftistrict of Californin for the practice oflnrv'
              v,at*t   lflrula,                 6                            Ryan L. l-rei
                                                                             l)esignee's Name {please type or print)


                                                                                       's   Signature

$seTro."N-Ig-     $V3PL!:MSNT.,&}$$..1-{/-AR$     HSXn.(ATTAS.rI.A                                              '$..s*RX)

  Federal Circuit - Acirnitted Sl?812013 - Active Menrber in Gaod Standing




G-64 (6116)                  AP}LICA TION OT                                     TO APPEAN IN A SPDCI}'IC CASA ?RO trAcvtclt                 Page 3   of3
                                                                     ^'TTORNEY
Case 8:17-cv-02147-DOC-DFM Document 15 Filed 03/07/18 Page 4 of 4 Page ID #:58




                 STATE BAR OF TEXAS


 Office of the Chief Disciplinary Counsel

 March 07, 2018



 Re: Bailey Kathleen Benedict, State Bar Number 24083139


 To Whom It May Concern:

 This is to certify that Bailey Kathleen Benedict was licensed to practice law in Texas on November
 02, 2012, and is an active member in good standing with the State Bar of Texas. "Good standing"
 means that the attorney is current on payment of Bar dues; has met Minimum Continuing Legal
 Education requirements; and is not presently under either administrative or disciplinary suspension
 from the practice of law.


 This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
 operation of rule or law.


 Sincerely,




 Linda A. Acevedo
 Chief Disciplinary Counsel
 LA/web




    P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
